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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

DOUGLAS LABONTE, ) CIVIL ACTION NO.
)
Plaintiff, )
)
v. )
)
ROBERT BOSCH TOOL CORPORATION, )
) JURY TRIAL DEMANDED
Defendants. )

PLAINTIFF’S ORIGINAL COMPLAINT AND JURY DEMAND

Plaintiff Douglas Labonte (‘Plaintiff’), by the undersigned attorneys, as and for his

Complaint alleges as follows:

PARTIES
1. Plaintiff Douglas Labonte is a citizen and resident of Massachusetts who resides
in Salem, MA.
2. Defendant Robert Bosch Tool Corporation (hereinafter “Bosch’’) was and is an

Illinois corporation with its principal place of business in Cook County, Illinois. Bosch may be
served with process by serving its registered agent for service of process, Corporation Service
Company, at 801 Adlai Stevenson Drive, Springfield, Illinois 62703.
JURISDICTION AND VENUE

3. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.
§ 1332(a)(1) in that it is an action between citizens of different states and the amount in
controversy exceeds $75,000.

4, This Court has personal jurisdiction over the Defendants because Plaintiffs
claims arise from the Defendant’s:

a. transacting business in the Commonwealth of Massachusetts;
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b. contracting to supply services or things in the Commonwealth of Massachusetts;

c. causing tortious injury by an act or omission in the Commonwealth of
Massachusetts; and/or

d. causing tortious injury in the Commonwealth of Massachusetts by an act or
omission outside of the Commonwealth of Massachusetts and regularly doing and
soliciting business and engaging in other persistent courses of conduct, and
deriving substantial revenue from goods used or consumed or services rendered in
the Commonwealth of Massachusetts.

5. Venue is proper in this District pursuant to 28 U.S.C. § 1391(a)(1) in that all the
defendants reside in this District, as that term is defined in § 1391(c) and pursuant to §
1391(a)(2), in that a substantial part of the events or omissions giving rise to the claim occurred
in this District.

FACTS COMMON TO ALL COUNTS

6. This suit arises out of the serious and permanent personal injuries suffered by
Plaintiff due to the wrongful conduct of Defendant in designing, manufacturing, distributing and
selling a Bosch 4100 table saw (the “Bosch Saw”).

7. For many years other technology has been available that would have eliminated or
reduced Plaintiffs injury. Such technology, known as SawStop, stops the spinning saw blade
almost instantly upon contact with human skin,

8. In or around December 2001, Bosch and Power Tool Institute (“PTI”) were made
aware of flesh-sensing technology that stops a spinning table saw blade almost instantly upon
contact with human skin. In or around December 2001, Stephen Gass, the inventor of the

SawStop technology, offered to make the technology available through a licensing agreement.
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Bosch chose not to utilize this technology and instead joined with other table saw manufacturers
through PTI to form a joint venture, ostensibly to develop their own flesh detection and breaking
technology, Bosch, however, have continued to sell table saws without this available
technology. Bosch, acting through PTI, also actively lobbied the Consumer Product Safety
Commission (“CPSC”) to prevent the adoption of flesh detection systems as a safety standard on
table saws. The flesh detection technology was feasible for incorporation into the Bosch Saw.

9. Bosch, and other table saw manufacturers, failed to pursue a license of the
available SawStop technology or to incorporate similar technology into the Bosch Saw. As a
result, the Bosch Saw had no flesh-detecting technology or other similar technology that would.
stop a spinning saw blade upon contact with human skin. Because it lacked such technology, the
Bosch Saw was unreasonably dangerous as designed and manufactured.

10. On or about December 23, 2015, while using the Bosch Saw in the reasonable,
foreseeable and intended manner, Plaintiff suffered severe and permanent personal injuries
causes by contact between his fingers and the saw’s rotating blade. At the time of his injury,
Plaintiff was acting reasonably and was exercising all due care for his own safety.

COUNT I
NEGLIGENCE

11. Plaintiff re-alleges the consistent allegations in Paragraphs 1 through 10 and
incorporates them herein by reference,

12, Bosch had a duty to exercise reasonable care in the design, manufacture,
marketing, testing, approval, application for approval, inspection, sale and distribution of the
Bosch Saw into the stream of commerce. Bosch failed to exercise ordinary care in the design,

manufacture, marketing, testing, inspection, sale and/or distribution of the Bosch Saw into
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interstate commerce and thus Bosch was negligent in all of these areas. As a result of the
negligence of Bosch, the Bosch Saw was unreasonably dangerous for its ordinary and
foreseeable use at the time it left the possession of Bosch.

13. Bosch’s negligence was a proximate cause of Plaintiff's injury and of his resulting
physical pain, mental anguish, physical disfigurement, physical impairment, medical care and
treatment, lost wages and loss of his ability to engage in usual and normal activities.

COUNT II
BREACH OF IMPLIED WARRANTY

14. —- Plaintiff re-alleges the consistent allegations in Paragraphs 1 through 10 and
incorporates them herein by reference.

15. | Bosch impliedly warranted pursuant to Mass. Gen. Law c. 106, §2-314 to Plaintiff
that the Bosch Saw and its component parts were merchantable, safe and fit for ordinary
purposes. Bosch is and was a merchant with respect to goods of the kind involved in the
accident. The product, component parts of the product and the product warnings and instructions
were defective, and therefore the product was not, in fact, merchantable, safe and fit as warranted
by Bosch. Bosch therefore breached these warranties to the Plaintiff.

WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Bosch be cited to appear
and answer, that the Court set this case for jury trial, that judgment be entered against Bosch for
the damages set forth herein as well as pre-judgment and post-judgment interest and costs of suit

and that the Court grant Plaintiff such other and further relief to which he may be justly entitled.

THE PLAINTIFF CLAIMS TRIAL BY JURY
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Dated: December 10, 2018

Pro hac vice admission to be sought for:

HEYGOOD, ORR & PEARSON

Eric D. Pearson

6363 North State Highway 161, Suite 450
Irving, Texas 75038

214-237-9001

Tolt free 877-446-9001

214-237-9002 (fax)

Respectfully submitted,

SULLIVAN & SULLIVAN, LLP

/s/Richard J. Sullivan

Richard J. Sullivan, BBO#554085
Ernest J. Palazzolo, Jr., BBO#637443
83 Walnut Street

Wellesley, Massachusetts 02481

Ph: 781-263-9400
rsullivan@sullivanilp.com
epalazzolo@sullivanlip.com

 

Attorneys for Plaintiff
